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                              UNITED STATES DISTRICT COURT
 6
                                      DISTRICT OF NEVADA
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 8   JAMES VINCENT BANKS,
                                                           Case No. 2:20-cv-00556-APG-NJK
 9         Plaintiff(s),
                                                                         ORDER
10   v.
                                                                     [Docket No. 37]
11   JOSEPH LOMBARDO, et al.,
12         Defendant(s).
13        Pending before the Court is a stipulation to revive and extend expert deadlines. Docket
14 No. 37. Such a request may be granted upon a showing of excusable neglect and good cause.
15 Local Rule 26-3. Having reviewed the stipulation, the request for extension is GRANTED and
16 deadlines are SET as follows:
17        •   Amend pleadings/ add parties: Closed
18        •   Initial experts: December 15, 2021
19        •   Rebuttal experts: January 3, 2022
20        •   Discovery cutoff: January 10, 2022
21        •   Discovery motions: January 24, 2022
22        •   Dispositive motions: February 9, 2022
23        •   Joint proposed pretrial order: March 11, 2022, or 30 days after resolution of dispositive
24            motions
25        IT IS SO ORDERED.
26        Dated: November 23, 2021
27                                                              ______________________________
                                                                Nancy J. Koppe
28                                                              United States Magistrate Judge

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